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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             September 29, 2020
                                                                              David J. Bradley, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        UNITED STATES OF              §   CRIMINAL ACTION NO.
        AMERICA                       §   4:19-CR-00817
                                      §
                                      §
               vs.                    §   JUDGE CHARLES ESKRIDGE
                                      §
                                      §
        ERIC WAYNE CURTIS             §

                      MEMORANDUM AND OPINION
                     GRANTING MOTION TO SUPPRESS

            The United States government has charged Defendant Eric
       Wayne Curtis with the unlawful possession of a firearm and
       ammunition by a convicted felon in violation of 18 USC
       §§ 922(g)(1) and 924(a)(2). Dkt 12. Officers of the Houston
       Police Department seized these items during a search of Curtis’s
       person after a warrantless entry into his home. Curtis moves to
       suppress this evidence as the fruit of an unconstitutional search.
       Dkt 18.
            Warrantless entry and searches within a person’s home are
       presumptively unreasonable under the Fourth Amendment. The
       government argues that exceptions applied regarding consent
       and the rendering of emergency aid. It also asserts that a limited
       pat-down search of Curtis was permitted once the officers were
       inside his home. But the government establishes neither the
       requisite emergency nor actual consent under the totality of the
       circumstances. With nothing constitutionally justifying their
       presence in Curtis’s home, the evidence seized from him during
       the pat-down search cannot be used in his prosecution.
            The motion to suppress is granted.
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                 1. Findings of fact
            The Court held an extensive evidentiary hearing on this
       motion by videoconference due to circumstances presented by
       the COVID-19 pandemic. The government presented testimony
       from Officers Aaron Crum and Sarah Wakefield. Both were
       present in Curtis’s home at the time of the pat-down search,
       which Officer Crum conducted. They are two members of a
       Houston Police Department “hot spot” team. These teams exist
       to proactively combat crime in the city’s high-crime areas. Tr 18.
            The government placed into evidence these officers’
       bodycam videos of the events on the street and inside Curtis’s
       home on the evening of his arrest, along with another bodycam
       video from Officer Pierce D’Avila. Dkt 27. The government also
       put into evidence a relevant screenshot taken from Officer
       Wakefield’s bodycam video of wounds that Curtis had sustained
       earlier that evening. Id.
            Curtis offered into evidence the incident report that Officer
       Crum prepared the next morning. Dkt 26. He did so to impeach
       testimony as inconsistent with that more-contemporaneous
       account of the evening. He also offered his Harris County
       criminal history background. Dkt 26-1. Curtis did this to
       emphasize a lack of violence or firearm-related convictions.
       Tr 80–81. That is generally so, but his record is extensive. It
       shows twenty-five offenses in Harris County dating back to 2001.
       Dkt 26-1. Most relate to drug possession. Six others were for
       resisting or evading arrest. And one dismissed charge was for
       murder.
            The Court has reviewed the three bodycam videos in their
       entirety. They range up to 120 minutes in length. Substantial
       excerpts were played during the testimony of both Officers Crum
       and Wakefield, upon which they were closely questioned. The
       details of the conversations, the gestures and conduct of the
       persons involved, and the scene depicted on the videos is central
       to the analysis. But the transcript reflects only notation of “Video
       Played” during referenced excerpts, without transcription of
       anything said or seen as they played. For example, see Tr 22. The
       narrative that follows of those quotes and that visual record is
       thus the Court’s own. It is primarily drawn from the bodycam




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       video of Officer Crum. But each video reflects the events at issue
       from slightly different perspectives, with some aspects on only
       one video and not the others. Each video was synced to the same
       date and time, and timestamp indications are to the displayed
       time on the videos.
            The Court makes the following factual findings based on the
       videos, the testimony, and the exhibits presented.
            21:14:30: Officers Crum and Wakefield were together in a
       patrol car in north Houston on the evening of September 21,
       2019. Tr 19. A report came over the police radio about a recent
       shooting. It identified Curtis as a potential shooting victim.
       Briefing establishes that the shooting occurred approximately
       two hours earlier at 7:19 p.m. Dkt 19 at 1.
            Both officers testified that they knew Curtis and recognized
       the address as his home. Tr 19, 98. They were specifically familiar
       with his criminal background. Tr 25; see Dkt 26-1 (criminal
       record). Officer Crum testified that Curtis is a documented gang
       member. Tr 24.
            21:15:32: Officers Crum and Wakefield arrived at Curtis’s
       home to assist the responding officers. Tr 19. Other officers were
       already present, along with a fire truck and several Houston Fire
       Department (HFD) and emergency medical technician (EMT)
       personnel.
            21:16:03: Officers Crum and Wakefield began talking with
       Delvin Grundy about thirty seconds after arriving. Grundy is
       Curtis’s cousin. He told them that he’d been informed that Curtis
       came home after having been shot but then rode off on a bicycle.
       Grundy said that he placed the call to the police and asked for an
       ambulance. He also said that he hadn’t personally seen Curtis but
       instead arrived at the home after Curtis left on the bicycle.
            21:17:10: The name of Curtis’s sister wasn’t made part of the
       record. But it was at this point that she joined the conversation.
       A young teenage boy also came out of Curtis’s house. Curtis’s
       sister identified him as her son and told him to go back inside and
       put on a shirt.
            21:17:40: Officer D’Avila arrived on the scene shortly after.
       Officer Wakefield told him that Curtis had been shot at a location




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       about five miles away from his house. Officer Wakefield testified
       that she thought Curtis had likely been shot in a retaliatory
       shooting. Tr 97.
            21:18:25: Officer D’Avila then joined the conversation with
       Grundy. Grundy told the officers that Curtis wouldn’t want to go
       in an ambulance, so he had to “trick” him into going. He also
       mentioned that Curtis does “wet” at times, but he didn’t know
       whether he was using that night. Testimony established that
       “wet” is a street term meaning phencyclidine, also known as PCP.
       Tr 31. Another family friend also approached the conversation
       during this time.
            21:21:05: It was at this point that Curtis returned home riding
       his bicycle. This was about five minutes after Officers Crum and
       Wakefield had arrived on scene. Officer Crum used Curtis’s
       nickname and said, “E-Bay, get over here!” Officers Crum,
       Wakefield, and D’Avila then approached Curtis as he was riding
       up to his house. Several other officers, HFD and EMT personnel,
       and Grundy also walked over to him.
            21:20:20: Curtis stopped riding as he reached them. He stood
       while still astride the bicycle. Officer Crum testified that Curtis
       seemed delirious. Tr 27. Officers Crum and Wakefield both asked
       Curtis where he had been shot. Curtis confirmed he was shot in
       the face and arm. Officer Wakefield shined her flashlight, and
       injuries were apparent to his right upper arm and right cheek.
       Both were covered with small bandages. Officer Crum testified
       that he couldn’t get a good look at the injuries because of these
       dressings. Tr 27. Blood had leaked through the arm bandages, but
       the wound wasn’t actively bleeding. Curtis said the bullet had
       passed through. The wound on his cheek appeared to be a graze
       only, and little if any blood was leaking from the bandage. See
       also Dkt 27 (screenshot).
            21:21:34: About a minute after Curtis rode up on the bicycle,
       Officer D’Avila asked him, “Why don’t you get off the bike and
       just sit down for me real quick, OK? We’re going to have HFD
       come check you out, OK?” Curtis replied, “Alright.” Officer
       D’Avila put his hand on Curtis’s left arm to assist him off.
       Grundy grabbed the other arm and Curtis’s bicycle.




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            21:21:42: An ambulance then arrived and parked behind the
       fire truck. Officer D’Avila asked him, “You wanna take a seat?”
       Curtis didn’t answer. He instead started walking towards his
       home and away from the ambulance. Grundy then caught up to
       him from behind, grabbing his right arm and telling him several
       times to sit down. Officer D’Avila also then grabbed Curtis’s left
       arm. This stopped Curtis from proceeding on to his home.
            21:22:20: An EMT or someone from HFD then approached
       and told Curtis that they just wanted to check him out. Officer
       D’Avila told Curtis that he wasn’t in trouble. Curtis said,
       “Alright.” Officer D’Avila asked, “You’ll sit in the ambulance
       with us, right?” Curtis didn’t respond. Officer D’Avila then
       asked, “You want your people to come take you?” Curtis replied,
       “Yeah.”
            21:22:35: Officer D’Avila released Curtis’s arm. Still holding
       him, Grundy twice asked, “Want me to take you? I’ll take you.”
       Two individuals that were either EMTs or HFD personnel then
       said, “He needs to go in the ambulance.”
            21:22:45: Grundy said to Curtis, “They say you gotta go in
       the ambulance.” Curtis spoke closely to Grundy for a few
       seconds, which was inaudible on the bodycam videos. Curtis then
       turned around and again started walking towards his home,
       holding the right pocket of his pants. He was wearing very large,
       loose-fitting sweat shorts. Grundy told the officers, “He said he
       gotta get something.”
            21:22:50: Officer D’Avila followed a few steps behind Curtis
       and asked, “Eric, what you gotta get, bro?” Curtis didn’t respond
       but instead kept walking.
            21:23:00: Officer D’Avila stepped in front of Curtis when he
       was about ten feet from the front door. He put his right hand on
       Curtis’s chest, halting him and preventing him from continuing
       on into his home. Officer Wakefield from behind then grabbed
       Curtis’s right arm. Grundy also held his torso. Officer D’Avila
       told Curtis, “You’re delirious right now, my man. I just need you
       to sit down and breathe and let HFD come check you out before
       you do anything, OK?” Curtis responded, “OK,” with an
       apparent tone of frustration in his voice.




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            21:23:12: Officer Crum had also followed Curtis. He
       positioned himself between Curtis and his home and asked, “Do
       you recognize me?” Curtis said, “Yeah.” Officer Crum reiterated
       that Curtis wasn’t in any trouble. Curtis responded again with
       frustration, “OK.” Officer Crum then asked Curtis what he
       needed from inside the house. Curtis didn’t respond.
            21:23:16: Curtis’s sister had also followed along with them.
       She said to Curtis, “I got your phone.” Curtis didn’t respond and
       instead began moving again towards his front door. Officer
       Wakefield continued to hold onto his arm as he moved toward
       his front door but eventually let go.
            21:23:20: The front door was already open. Officer Crum
       was slightly ahead of Curtis and went through the door first,
       opening it a bit more as he did so. He was followed immediately
       after by Curtis. Then entered Officer D’Avila, Officer Wakefield,
       Grundy, Curtis’s sister, and EMT and HFD personnel. Tr 90. At
       no point did any of the officers or other responding personnel
       ask Curtis, his sister, or his cousin if they could enter the house.
       Just before entering Officer D’Avila said to Grundy, “Here let us
       get in there real quick. No weapons in the house, right?” Grundy
       replied, “I don’t know. I don’t live here.”
            21:23:25: Curtis’s front door opens directly into his living
       room. The room was dimly lit. Officer Crum told Curtis to take
       a seat once inside. Curtis instead attempted to walk past him
       towards a hallway leading off the back. Officer Wakefield also
       asked Curtis to sit down so the EMTs could come check on him.
       Officer Crum touched Curtis’s right arm and again told him to
       sit down.
            21:23:35: Curtis eventually sat down on a chair in his living
       room. Curtis’s sister said, “It seems like he ’bout to fall out. He
       might be high.” Officer Crum stood over Curtis and illuminated
       him with a flashlight. Curtis then put his hand into the left pocket
       of his shorts. Officer Crum immediately patted down Curtis’s left
       pocket. Officer D’Avila asked Curtis, “Eric, you got any weapons
       on you or drugs or anything, man?” Curtis didn’t respond.
            21:23:45: Officer Crum testified that he then noticed a large
       lump or bulge in Curtis’s right pocket. Tr 36. The bodycam video
       isn’t of sufficient quality as to make this apparent. Officer Crum



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       patted down Curtis’s right pocket. He testified that he felt a hard
       object like the butt of a pistol. Tr 36. Officer Crum asked, “Is this
       a burner?” Curtis said, “Yeah. Don’t take it.” Officer Crum
       reached into Curtis’s right pocket and removed a 9-millimeter
       semi-automatic pistol and a full magazine with twelve rounds.
            21:23:55: With urgency and at the insistence of Officer
       Crum, the other officers grabbed Curtis’s hands and fully
       restrained him. They continued to search him. An EMT
       approached and said, “I need to check real quick his arm.” But
       Officer D’Avila replied, “Hey guys, can you give us some room?”
       Other HFD and EMT personnel attempted to approach Curtis.
       Officer Crum said, “Hey, y’all step outside.” Officer D’Avila then
       insisted, “Get outside. Get outside. Everybody get outside.” One
       of the HFD or EMT personnel asked, “Us, too?” Officer Crum
       said, “Yes.” All such personnel then exited the house.
            21:24:35: Officer Wakefield placed Curtis’s hands in cuffs in
       front of him. The officers continued to carefully pat him down
       but found nothing else. During this time, Curtis’s sister had gone
       to the back room to get her children to exit the house.
            21:26:05: Curtis received no medical treatment or attention
       of any kind inside his home. About two minutes after being
       handcuffed, Officers Crum and Wakefield stood Curtis up to
       walk him outside. Curtis’s sister asked, “Why y’all got him in
       handcuffs?” Officer Crum replied, “Because he’s a convicted
       felon. He’s not allowed to have a gun.”
            21:26:45: The officers told Curtis that they intended to walk
       him to the ambulance. But they found that it had moved once
       they were outside. Curtis was instead walked past one police
       cruiser and placed into another while they waited for the
       ambulance. It took them about forty seconds to reach the first
       police cruiser and another ten seconds to the reach the second.
            21:27:40: Officer D’Avila patted down Curtis again outside
       the police cruiser.
            21:28:20: Someone from HFD briefly examined Curtis’s arm
       wound. Officers Wakefield and D’Avila directed him to sit in the
       police cruiser. An EMT then came to check Curtis’s arm wound.




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            21:29:30: The ambulance arrived about a minute later. The
       officers and various EMT and HFD personnel examined Curtis’
       wounds again outside the ambulance.
            21:31:20: The officers directed Curtis into the ambulance.
       EMTs properly bandaged his arm and provided other medical
       attention for approximately six minutes.
            21:37:30: The ambulance then departed. Officer D’Avila
       rode in the cabin while Curtis lay restrained on a gurney. Officer
       D’Avila’s bodycam video recorded about eleven minutes of travel
       to the emergency room and the waiting time until Curtis’s intake
       medical examination. What happened in those minutes isn’t
       pertinent to the analysis below and so it isn’t recounted in detail.
       The Court does note that approximately thirty minutes passed
       from Curtis’s arrival at the emergency room until a doctor
       examined him.
            All told, Officers Crum, Wakefield, D’Avila, and various
       HFD and EMT personnel were present at Curtis’s home for just
       over sixteen minutes from when Curtis arrived on the bicycle
       until he was driven away in the ambulance. Curtis remained calm
       throughout that entire time, never acting violently or aggressively.
       He wasn’t belligerent or provocative in any way. Likewise, the
       involved officers and personnel acted calmly and respectfully to
       Curtis and all citizens on the scene at his home. Their weapons
       were never drawn or brandished. The only raising of voices and
       escalation of tensions was directed by Officer Crum at his fellow
       officers in the brief moments after he found the gun on Curtis’s
       person when he insisted they restrain Curtis more fully for a
       complete search.
                 2. Legal standard
            The questions presented here fall squarely within the
       protections of the Fourth Amendment to the United States
       Constitution. It provides in full:
                 The right of the people to be secure in their
                 persons, houses, papers, and effects, against
                 unreasonable searches and seizures, shall not be
                 violated, and no Warrants shall issue, but upon
                 probable cause, supported by Oath or
                 affirmation, and particularly describing the



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                  place to be searched, and the persons or things
                  to be seized.
       US Const Amend IV.
             Those who ratified the Fourth Amendment were quite
       familiar with the notion of security in their persons and
       property—and the dangers arising from governmental intrusions
       into their homes. It was a prominent concept in English law. Sir
       William Blackstone published the four volumes of his
       Commentaries on the Laws of England between 1765 and 1769, quite
       proximate to the American Revolution. In that work he observed:
                  For every man’s house is looked upon by the
                  law to be his castle of defence and asylum,
                  wherein he should suffer no violence. Which
                  principle is carried so far in the civil law, that for
                  the most part not so much as a common
                  citation or summons, much less an arrest, can
                  be executed upon a man within his own walls.
       3 Sir William Blackstone, Commentaries on the Laws of England 288
       (1768). Sir Edward Coke expressed a similar sentiment well more
       than one hundred years earlier in his Institutes on the Laws of
       England, stating, “For a man’s house is his castle, et domus sua cuique
       est tutissimum refugium [and each man’s home is his safest refuge].”
       3 Sir Edward Coke, Institutes of the Laws of England 162 (1628).
             Such passages have an obvious influence on understanding
       the Fourth Amendment as applied to the situation at hand. And
       the Supreme Court has of course examined the history and
       purposes of the Fourth Amendment on many occasions. See
       Warden, Maryland Penitentiary v Hayden, 387 US 294, 301 n 9 (1967)
       (listing cases). It notes that the Fourth Amendment “was a
       reaction to the evils of the use of the general warrant in England
       and the writs of assistance in the Colonies, and was intended to
       protect against invasions of ‘the sanctity of a man’s home and the
       privacies of life,’ . . . from searches under indiscriminate, general
       authority.” Ibid, citing Boyd v United States, 116 US 616, 630
       (1886). It more pointedly observes, “Physical entry of the home
       is the chief evil against which the wording of the Fourth
       Amendment is directed.” United States v United States District Court




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        for Eastern District of Michigan Southern Division, 407 US 297, 313
        (1972).
             It is a basic tenet of Fourth Amendment law that a
        warrantless search is presumptively unreasonable. United States v
        Jaras, 86 F3d 383, 388 (5th Cir 1996); see also United States v
        Aguirre, 664 F3d 606, 610 (5th Cir 2011). To protect these
        interests and properly limit sovereign action on the use of
        searches and seizures, the Supreme Court adopted an
        “exclusionary rule” requiring the suppression of evidence
        obtained in violation of the Fourth Amendment. United States v
        Calandra, 414 US 338, 347 (1974); see originally Bram v United
        States, 168 US 532 (1897) (first articulating and applying
        exclusionary rule to involuntary confessions); Weeks v United
        States, 232 US 383 (1914) (first applying exclusionary rule in
        Fourth Amendment context). But this isn’t a blanket rule. And
        indeed, the Fourth Amendment textually phrases its protections
        of the people as a prohibition only of “unreasonable searches and
        seizures.” US Const Amend IV.
             Certain exigencies “make the needs of law enforcement so
        compelling that the warrantless search is objectively reasonable
        under the Fourth Amendment.” Mincey v Arizona, 437 US 385,
        393–94 (1978). A number of well-recognized exceptions to the
        warrant requirement thus exist and are frequently litigated. For
        example, see Brigham City, Utah v Stuart, 547 US 398, 403 (2006)
        (need to render emergency aid); Preston v United States, 376 US 364,
        367 (1964) (imminent destruction of evidence); Chapman v United
        States, 365 US 610, 615 (1961) (hot pursuit of fleeing suspect);
        Washington v Chrisman, 455 US 1, 5 (1982) (objects in plain view).
        And of course, consent is another recognized and often-litigated
        exception. See Davis v United States, 328 US 582, 593–94 (1946).
             These exceptions are narrow and well-delineated. The
        Supreme Court is adamant that they must be so to retain their
        constitutional character. Katz v United States, 389 US 347, 357
        (1967). As such, the prosecution bears the burden of bringing the
        search within one of them. Aguirre, 664 F3d at 610.
                  3. Analysis
             Curtis argues that the evidence of the firearm and
        ammunition should be suppressed because the officers seized



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        them pursuant to a warrantless search of his person inside his
        home. The government stipulates that this was a warrantless
        entry unsupported by probable cause. Tr 12. It instead relies on
        exceptions pertinent to the rendering of emergency aid and
        consent. It also asserts that the pat-down by Officer Crum falls
        within the procedures allowed by Terry v Ohio, 392 US 1 (1968).
                       a. Warrantless entry; exigent circumstances
             The government asserts that warrantless entry by the officers
        into Curtis’s home was justified by exigent circumstances—
        namely, the need to render emergency aid to him. Dkt 19 at 3.
        Curtis argues to the contrary that that he was in no immediate
        need of medical assistance. Dkt 18 at 3. He also argues that the
        exception is inapplicable because he refused medical treatment
        outside his home before retreating into it. Id at 4.
             A recognized exception to the warrant requirement is “the
        existence of exigent circumstances justifying immediate action.”
        Linicomn v Hill, 902 F3d 529, 536 (5th Cir 2018), citing Rice v
        ReliaStar Life Insurance Co, 770 F3d 1122, 1130–31 (5th Cir 2014).
        One such circumstance is “the need to assist persons who are
        seriously injured or threatened with such injury.” Stuart, 547 US
        at 403. The Supreme Court thus holds that “law enforcement
        officers may enter a home without a warrant to render emergency
        assistance to an injured occupant or to protect an occupant from
        imminent injury.” Ibid, citing Mincey, 437 US at 392.
             This emergency-aid exception doesn’t depend on the
        officers’ subjective intent or the seriousness of any crime they are
        investigating when the emergency arises. Michigan v Fisher, 558 US
        45, 47 (2009), quoting Stuart, 547 US at 404–05. “It requires only
        an objectively reasonable basis for believing that a person within
        the house is in need of immediate aid.” Fisher, 558 US at 47
        (quotations marks and citations omitted). The Fifth Circuit
        phrases it as a test of objective reasonableness in view of all the
        circumstances: “Whether exigent circumstances exist to justify a
        warrantless search depends on whether, given the totality of the
        circumstances, the search was objectively reasonable.” Linicomn,
        902 F3d at 536, citing Stuart, 547 US at 404.
             The government points to several facts supporting an
        objectively reasonable basis to believe that Curtis required



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        emergency aid. The officers knew he had been shot. They saw
        that his arm and face wounds were improperly bandaged and had,
        at least at some point, been bleeding. They noted that he failed at
        times to respond to police, paramedics, and family members, and
        that he walked away from the ambulance towards his house. And
        they had heard that he might have been high on PCP, which can
        cause users to become psychotic, violent, and unpredictable.
        Dkt 19 at 4.
             Curtis was undoubtedly injured. And it is correct that officers
        “do not need ironclad proof of ‘a likely serious, life-threatening’
        injury to invoke the emergency aid exception.” Fisher, 558 US
        at 49. But it is still just that—an exception concerning the need
        to render emergency aid. A respected legal dictionary defines
        emergency first by reference to “[a] sudden and serious event or an
        unforeseen change in circumstances that calls for immediate
        action to avert, control, or remedy harm,” and second by
        description as “[a]n urgent need for relief or help.” Black’s Law
        Dictionary, Emergency (11th ed 2019). The exception itself thus
        pertains to a situation which by its nature requires immediate
        action and attention. Stuart, 547 US at 403 (suggesting immediate
        action such as protecting or preserving life). And the ultimate
        point of inquiry must not be forgotten—the totality of the
        circumstances, not simply those that support the action taken.
             With that understanding, numerous facts undermine support
        for urgency or immediacy here. For instance, the encounter
        began when Curtis rode up to his own home on a bicycle. This
        was at a point in time nearly two hours since the reported
        shooting. And that shooting hadn’t occurred in or near Curtis’s
        home, but rather, at a location several miles away. Curtis had
        already bandaged his wounds, albeit improperly. The wound to
        his arm wasn’t actively bleeding, and the wound to his cheek
        appeared to be a graze only. Curtis easily remained upright, able
        to express his intentions and walk about under his own power.
        He was in fact in the officers’ presence upon arrival until entry
        into his home for nearly three minutes.
             It is also apparent that no medical aid was rendered or
        requested outside the home. And so to the extent the professed
        concern was Curtis’s need for medical attention, a countervailing




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        line of authority establishes a general liberty interest to refuse
        such treatment. See Sama v Hannigan, 669 F3d 585, 591 n 13
        (5th Cir 2012) (collecting cases and considering in Eighth
        Amendment context); see also United States v Husband, 226 F3d
        626, 632 (7th Cir 2000) (considering same in Fourth Amendment
        context). This requires a balancing of Curtis’s liberty interests in
        this regard against relevant state interests. Sama, 669 F3d at 591.
             For his part, Curtis rejected medical attention at several
        points outside his home, most notably when he twice walked
        away from the ambulance despite offers of help from HFD and
        EMT personnel. He had a right to refuse such medical attention.
        But it created no circumstance permitting an emergency intrusion
        into his home to render the aid that had been rejected and not
        rendered to him outside his home. As for interests of the state, this
        assertion concerning the need for emergency aid is unrelated to
        control of the situation at the home or the gathering of evidence
        of a crime. Compare Husband, 226 F3d at 631–33 (regarding
        forcible extraction of evidence from a suspect’s mouth). The
        officers simply wanted to provide medical care. This is admirable,
        but it doesn’t present a situation where Curtis was alone or
        dependent upon the officers and other government personnel as
        his only source of aid. His sister, his cousin, and a friend were
        present and expressed concern on his behalf. His cousin even
        offered to take him to the hospital. And that offer was made after
        Curtis replied, “Yeah,” when Officer D’Avila directly asked him,
        “You want your people to come take you?” The presence of
        family and their willingness to assist Curtis, together with Curtis’s
        own preference for them to take him to the hospital, lessened any
        need for the officers to render immediate aid. Curtis’s general
        liberty interest to refuse medical treatment is thus paramount
        here.
             The totality of circumstances answering this question must
        also include what occurred once everyone actually entered
        Curtis’s home. If his injuries were objectively believed to be
        severe, one would think that aid would have been rendered
        immediately to him inside the house. It wasn’t. To the contrary,
        even after the officers searched and then handcuffed Curtis, they
        neither had an EMT administer care to him in his living room,




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        nor had an ambulance gurney brought to take him out of his
        home. Indeed, one EMT seeking to render aid was waved off by
        the officers, followed by all HFD and EMT personnel being
        ordered out of the house by Officers Crum and D’Avila. The
        officers then eventually stood Curtis up and walked him outside
        under his own power to a police cruiser a fair distance away, even
        bypassing another cruiser closer to his home.
             All told, nearly six minutes passed from the point in time
        when the firearm was found on Curtis’s person until EMTs first
        attended to him at the police cruiser. That is double the three
        minutes Curtis was with the officers outside the home between
        arriving on his bicycle and going inside. Such after-the-fact delay
        itself belies assertion of an objectively reasonable basis to believe
        that Curtis was in need of emergency assistance requiring
        immediate entry into his home.
             The government primarily relies upon the decision of the
        Supreme Court in Michigan v Fisher, 558 US 45 (2009). See Dkt 19
        at 4. But the police officers there were responding to a report of
        an active domestic disturbance. They encountered a “tumultuous
        situation in the house” and “signs of a recent injury, perhaps from
        a car accident, outside.” Fisher, 558 US at 48. The officers could
        also observe violent behavior inside the home. The Supreme
        Court held on those facts that it was objectively reasonable for
        the officers “to believe that Fisher had hurt himself (albeit
        nonfatally) and needed treatment that in his rage he was unable
        to provide, or that Fisher was about to hurt, or had already hurt,
        someone else.” Id at 49.
             By comparison here, no criminal activity was suspected to
        have occurred within or in the immediate proximity of Curtis’s
        home. The officers arrived to find a relatively calm scene outside.
        They were aware of a shooting that had taken place two hours
        previously and some miles away. But nothing at Curtis’s home
        indicated a need to prevent violence or restore order. As to
        Curtis’s behavior, he remained calm throughout the entire
        encounter. The officers suspected that he might be high on PCP,
        which they testified can cause violent outbursts. Tr 41–42. But
        Curtis said nothing provocative and exhibited no aggressive
        tendencies at any point suggesting the potential danger or risks




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        associated with PCP use. And as noted above, much was already
        known about his injuries. He didn’t appear to be in distress, and
        his family was willing to care for him. The totality of these
        circumstances indicated that his injuries weren’t so severe as to
        require the “immediate aid” referenced in Fisher. 558 US at 47.
             Curtis relies on Linicomn to argue that retreat into his home
        in response to offers of medical treatment cuts against any
        finding of exigent circumstances. Dkt 20 at 1. The Fifth Circuit
        there held that a father’s retreat into his home in response to an
        officer’s requests to enter without a warrant didn’t give rise to
        exigent circumstances—even where the officers suspected he
        was attempting to get a gun and the mother reported their
        children to be ill inside. Linicomn, 902 F3d at 538. If retreat under
        those facts didn’t give rise to exigent circumstances justifying
        warrantless entry, then certainly insufficient exigency existed
        here. Curtis simply manifested an intention to retreat into his
        home at several points during the encounter, while being
        prevented from doing so by the officers.
             The Supreme Court observes that the Fourth Amendment
        “has drawn a firm line at the entrance to the house.” Payton v
        New York, 445 US 573, 590 (1980). And the Fifth Circuit has
        “declined to apply the emergency aid exception absent strong
        evidence of an emergency at the scene or an imminent need for
        medical attention.” Linicomn, 902 F3d at 536. The totality of these
        circumstances doesn’t present the requisite strong evidence of
        the objective emergency necessary to the exception. As such, the
        government cannot rely on the emergency-aid exception to
        justify the warrantless entry and search within Curtis’s home.
                      b. Warrantless entry; consent
             Voluntary consent is a specifically established exception to
        the Fourth Amendment’s prohibition against warrantless
        searches. Schneckloth v Bustamonte, 412 US 218, 219 (1973). The
        Fifth Circuit holds, “The government does not need a warrant if
        it receives: (i) consent; (ii) that is voluntarily given; (iii) by
        someone with actual or apparent authority; and (iv) the search
        does not exceed the scope of the consent received.” United States v
        Staggers, 961 F3d 745, 757 (5th Cir 2020), citing United States v
        Freeman, 482 F3d 829, 831–32 (5th Cir 2007).




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             The government bears the burden of proving by a
        preponderance of the evidence that it obtained consent. United
        States v Santiago, 410 F3d 193, 198–99 (5th Cir 2005) (quotation
        marks and citations omitted). Consent is determined based on the
        totality of the circumstances. Gates v Texas Department of Protective
        & Regulatory Services, 537 F3d 404, 420 (5th Cir 2008). Consent
        needn’t be explicit. Staggers, 961 F3d at 757. It “can be implied
        from silence or failure to object if it follows a police officer’s
        explicit or implicit request for consent.” United States v Martinez,
        410 F Appx 759, 763 (5th Cir 2011), citing Jaras, 86 F3d at 390.
        And it may be inferred from actions that reasonably
        communicate consent. Staggers, 961 F3d at 757–58, citing United
        States v Lewis, 476 F3d 369, 381 (5th Cir 2007). The government
        asserts that the officers’ warrantless entry was justified by consent
        obtained from either Curtis or his sister. Dkt 19 at 5.
                          i. Consent by Curtis
             The government doesn’t assert that Curtis explicitly
        consented to entry. It instead argues that he gave implied consent.
        Dkt 19 at 5. Curtis disagrees, arguing that his behavior
        communicated only his desire to decline medical treatment, to
        refuse to talk to the police, and simply to retreat into his own
        home. Dkt 20 at 2.
             One thing that didn’t happen is obvious—no officer or other
        personnel on the scene ever asked Curtis for permission to enter
        his home. It is also beyond dispute that there was ample time and
        opportunity to ask that simple question. Approximately three
        minutes passed from the time Curtis arrived back to his home on
        his bicycle and when he walked through his front door. After
        Curtis dismounted from his bicycle, the officers paused Curtis to
        speak with him in front of the fire truck and then once again
        closer to his front door. That failure of specific request weighs
        against a finding of voluntary consent here. See United States v
        Castapheny, 2007 WL 1308976, *2 (SD W Va) (consent not found
        where officers failed to request permission to enter home despite
        ample opportunity to do so).
             Consider, for instance, a question the officers did ask Curtis
        twice during this time. Grundy had spoken with Curtis just before
        Curtis walked off towards his home for the first time. Grundy




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        relayed to the officers that Curtis said he wanted to go into his
        house to get something. What was it that Curtis wanted to get?
        Officer D’Avila first asked him that question when Curtis walked
        away from the fire truck and ambulance. Officer Crum asked that
        question again when Officer D’Avila stopped Curtis again about
        ten feet away from the front door. But an officer asking what a
        person needs inside of his or her home is a very different question
        than that officer asking to come inside to help obtain it. No one
        asked or even alluded to permission in that regard. And even as
        to the question asked, Curtis never answered. He simply
        remained silent.
              The government points to certain affirmative declarations by
        Curtis. When Officer D’Avila restrained Curtis in front of the fire
        truck, he told Curtis he wasn’t in trouble. Curtis said, “Alright.”
        Officer D’Avila then asked, “You want your people to come take
        you?” Curtis said, “Yeah.” When Officer D’Avila again stopped
        Curtis closer to his home, he told Curtis he was delirious, needed
        to sit down, and let HFD come check him out. Curtis responded
        with a frustrated tone, “OK.” Officer Crum then asked Curtis if
        he recognized him. Curtis responded, “Yeah.” Officer Crum
        reiterated that Curtis wasn’t in trouble. Curtis again said, “OK.”
        These are at best equivocal statements regarding the need for
        medical treatment outside the home. None provide or imply
        consent for the officers to enter Curtis’s home.
              This argument also essentially seeks to convert a suggested
        need for emergency aid into the basis for a much broader
        provision of consent. This would combine distinct exceptions to
        the warrant requirement into one. But these exceptions are
        carefully drawn and delineated. United States v Jenkins, 46 F3d 447,
        451 (5th Cir 1995). Where the emergency-aid exception applies,
        it alone supports warrantless entry and entirely displaces the need
        for consent. But where the basis is to be consent, it must be
        consent on the ultimate issue—agreement that the officer can
        enter a person’s home without a warrant. For example, the Fifth
        Circuit in Gates focused its analysis of consent on whether the
        pertinent statements “might have indicated to a reasonable
        officer that he or she had permission to enter the house.” 537 F3d
        at 420–21 (emphasis added). This also pairs with required analysis




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        under the consent exception to ensure that “the search does not
        exceed the scope of the consent received.” Staggers, 961 F3d
        at 757 (citation omitted). And it must be remembered that the
        final inquiry at the threshold had nothing even to do with
        entering to render aid, but instead concerned whatever it was
        Curtis had told his cousin he wanted to go inside to get. Compare
        United States v Harvey, 901 F Supp 2d 681, 693 (ND W Va 2012)
        (declining to construe statement to officer of need to obtain
        identification in home as “offer” asking officer to accompany
        him to retrieve it).
              The government doesn’t here suggest that Curtis gave any
        consent to enter his home to make any search at all. Allowing the
        emergency-aid exception to instead loosen the consent exception
        would undervalue core Fourth Amendment protections afforded
        to the home and untether each distinct exception from its
        underlying justification. See Collins v Virginia, 138 S Ct 1663, 1671
        (2018). These exceptions must instead remain distinct if they are
        to retain their constitutional character. Katz, 389 US at 357.
              So, no one asked or alluded to the simple question of
        whether they could enter Curtis’s home. Without that, the inquiry
        turns to gestures or conduct that can reasonably be construed as
        consent. See Staggers, 961 F3d at 757–58. The government asserts
        that Curtis impliedly consented “when he silently allowed
        [Officer Crum] to open his door and lead him into his house.”
        Dkt 19 at 5. But that is not what the bodycam footage shows.
        The door was instead already open when Officer Crum entered
        ahead of Curtis. The videos don’t indicate that Curtis gestured
        for Officer Crum to help him through his own front door or that
        he needed any help doing so. Nor does it show that Officer Crum
        assisted or guided him in any way. Officer Crum simply entered
        first, opening the door a bit more for himself to do so.
              The footage preceding that entry also shows the officers
        blocking Curtis from actually going inside his home. Officers
        D’Avila and Crum each positioned themselves between Curtis
        and his front door as he attempted to walk towards his house.
        They also put their hands on him to prevent him from going
        inside while seeking to engage him in conversation. Despite this,
        Curtis continued on, finally walking through his front door.




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        Officer Crum had preceded him over the threshold. But Curtis
        walked past him even then, attempting to exit the living room at
        the other end. Officer Crum again halted him by touching his
        right arm and telling him to sit down.
             These actions don’t give rise to a reasonable inference of
        consent. Compare Staggers, 961 F3d at 757–58, citing Lewis, 476
        F3d at 381 (finding consent where actions by defendant included
        opening door wider and stepping aside for officer to enter).
        Implied consent here would have to be premised exclusively on
        Curtis’s silence and lack of resistance to the officer’s entry. But
        silence or passivity cannot alone form the basis for consent to
        enter. Roe v Texas Department of Protective and Regulatory Services,
        299 F3d 395, 402 (5th Cir 2002). Consent can be implied from
        silence or failure to object only when “it follows a police officer’s
        explicit or implicit request for consent.” Martinez, 410 F Appx
        at 763; see also Jaras, 86 F3d at 390.
             None of the questions or actions by the officers or other
        personnel can be construed as explicit or implicit requests for
        consent to enter Curtis’s home. Instead, those questions and
        actions appear to consciously avoid making such a request.
        Admonition by the Fifth Circuit in Jaras is thus equally applicable
        here:
                 It is one thing to infer consent from actions
                 responding to a police request. It is quite
                 another to sanction the police walking in to a
                 person’s home without stopping at the door to
                 ask permission. . . . To infer consent in this case
                 is only a conjecture and would exceed the scope
                 of any recognized exception to the Fourth
                 Amendment’s bar to warrantless entry of a
                 home.
        86 F3d at 390, quoting United States v Shaibu, 920 F2d 1423, 1427
        (9th Cir 1990).
             “We must not shift the burden from the government—to
        show ‘unequivocal and specific’ consent—to the defendant, who
        would have to prove unequivocal and specific objection to a
        police entry, or be found to have given implied consent.” Shaibu,
        920 F2d at 1427–28. Curtis’s lack of objection and resistance in



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        response to the officers accompanying him into his home
        evinces, at most, “no more than acquiescence to a claim of lawful
        authority.” Bumper v North Carolina, 391 US 543, 549 (1968). This
        is insufficient to discharge the government’s burden. Ibid; see
        also Santiago, 410 F3d at 199.
                         ii. Consent by Curtis’s sister
             The government also contends that Curtis’s sister gave
        implied consent and had apparent authority to do so. Curtis
        doesn’t dispute that his sister had at least apparent authority to
        give consent to entry into the home, where she and her children
        appeared to live. But he does dispute whether she actually
        consented.
             As with Curtis, no officer asked his sister for permission to
        enter the home. The government contends that she consented by
        stating outside the home that she had Curtis’s phone, by not
        objecting to the police’s entry, and by assisting them inside the
        house when saying that Curtis was “’bout to fall out” after he sat
        down on his sofa. Dkt 19 at 5. None are sufficient. Her statement
        inside the home was just that—after she and the officers had
        already entered. It cannot serve as the basis for consent at the
        necessary, prior time. That she didn’t object to the officers’ entry
        doesn’t support implied consent in these circumstances, for
        reasons already stated above. Her statement that she had Curtis’s
        phone was at least said outside and before Officer Crum entered
        the house. But it is quite attenuated from a showing of implied
        consent. If anything, she was suggesting that there was no need
        even to enter the home at that time. And she was communicating
        to Curtis, not the officers.
             The government also argued at hearing that Curtis’s sister
        impliedly consented to the officers’ entry into the home by
        encouraging their efforts to provide medical aid. Tr 134. This
        referred to her affirmatively nodding her head in support of
        getting Curtis medical attention when the officers first spoke with
        her and Grundy in front of the home. This was before Curtis had
        even arrived. And of course, when he arrived on his bicycle, he
        was outside the home on the street. Such gestures are too far
        removed in time and place from the officer’s actual entry into the
        home. They can’t reasonably be understood to indicate consent




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        to enter the home. And again, it conflates the idea of consent to
        entry without a warrant with the emergency-aid exception.
             Neither Curtis nor his sister provided consent to the officers’
        entry into the home. The government thus can’t rely on this
        exception to justify the warrantless entry and search within
        Curtis’s home. See Jaras, 86 F3d at 390.
                      c. Pat-down search
             The government also seeks to justify the seizure of the gun
        and ammunition from Curtis’s person as a pat-down search under
        Terry v Ohio, 392 US 1 (1968). Dkt 19 at 6–7. This is a “very
        narrow exception,” allowing police officers to briefly detain a
        person for investigative and safety purposes if they can point to
        “specific and articulable facts” that give rise to reasonable
        suspicion that a particular person has committed, is committing,
        or is about to commit a crime. United States v Monsivais, 848 F3d
        353, 357 (5th Cir 2017), quoting United States v Hill, 752 F3d 1029,
        1033 (5th Cir 2014). The Supreme Court holds, “The officer need
        not be absolutely certain that the individual is armed; the issue is
        whether a reasonably prudent man in the circumstances would
        be warranted in the belief that his safety or that of others was in
        danger.” Terry, 392 US at 27.
             Those specific and articulable facts existed here, the
        government says, because Curtis reached into his left pocket once
        he was inside his own home and seated on his couch. Officer
        Crum testified that at that same time he noticed a large lump or
        bulge in Curtis’s right pocket. Tr 36. His search of that pocket
        then procured the disputed evidence.
             But Officer Wakefield testified that she saw Curtis grabbing
        at his right pocket as he got off his bicycle when still out on the
        street. Tr 94, 98. And the video plainly showed Curtis holding his
        right pocket when walking from the street into his front yard. A
        very different question would be presented had the officers
        actually conducted the same pat-down search at that place and
        time—outside the home upon or shortly after Curtis’s arrival.
        Consider that scenario. The officers had also heard that there was
        a retaliatory shooting involving someone fitting Curtis’s
        description. A call had come in that Curtis had been shot. He was
        known to them as a felon and documented gang member. They



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        heard that he may also have been high on PCP. Could all those
        facts taken together give rise to a reasonable belief that the safety
        of the situation was at risk, thus justifying a brief pat-down?
        Perhaps.
             The simple fact is, however, that no search was done before
        Curtis peacefully and without provocation crossed the threshold
        into his home. The circumstances under review thus also include
        the warrantless entry by the officers into that home prior to the
        observations by Officer Crum once inside. That is the actual
        question presented—the extent to which this type of search may
        occur inside a person’s home where independent circumstances
        don’t support the presence of police there in the first place.
             The Supreme Court hasn’t addressed the constitutionality of
        a Terry-style search and seizure within a person’s home. See United
        States v Richmond, 924 F3d 404, 412 (7th Cir 2019), cert denied,
        140 S Ct 1136 (2020). And the Fifth Circuit hasn’t been squarely
        presented this issue. For example, see United States v Darensbourg,
        236 F Appx 991, 993–94 (5th Cir 2007) (unpublished) (addressing
        Terry pat-down of defendant inside home where homeowner
        consented to officers’ entry and defendant didn’t contest location
        of search).
             The decision by the Fifth Circuit in United States v Scroggins
        appears to be the closest guiding precedent. 599 F3d 433 (5th Cir
        2010). At issue there was the constitutionality of a warrantless
        entry by police officers into a defendant’s home and their ensuing
        protective sweep and Terry-style frisk of the defendant. Id at 444.
        The Fifth Circuit found consent to justify the initial entry. Id
        at 442. It also held that further events within the home justified
        their seizure of the defendant. Id at 445. But it declined to uphold
        that seizure under Terry. The Fifth Circuit expressed doubt about
        the extension of Terry within the home, observing “Under Terry,
        officers may briefly detain an individual on the street for
        questioning, without probable cause, when they possess
        reasonable, articulable suspicion of criminal activity.” Id at 441
        (emphasis added); see also United States v Michelletti, 13 F3d 838,
        840 (5th Cir 1994) (Terry doctrine was developed to determine
        when police could “detain individuals on the street” and subject
        them to search). The Fifth Circuit thus limited justification of the




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        seizure in Scroggins to the protective-sweep doctrine articulated in
        United States v Gould, 364 F3d 578 (5th Cir 2004). Scroggins, 599
        F3d at 444–45. While that decision doesn’t preclude the
        availability of the Terry doctrine in the home, it certainly makes
        the constitutional validity of the officers’ presence within the
        home a key focus.
             Precedent available from other circuits also appears to allow
        for a Terry pat-down inside the home if the officers were justified
        when originally entering the home. For instance, after finding “no
        support for the proposition that the in-home setting
        automatically eclipses any and all interests in officer safety,” the
        First Circuit held that Terry applies within a home if the officer is
        legitimately on the residential premises pursuant to consent or
        other lawful authority. United States v Romain, 393 F3d 63, 75 (1st
        Cir 2004). The Second, Third, Seventh, and Eighth Circuits are
        in accord. See United States v Gori, 230 F3d 44, 56 (2d Cir 2000)
        (holding Terry-style frisk in hallway outside apartment allowed if
        presence supported by consent); United States v Murray, 821 F3d
        386, 393 (3d Cir 2016) (holding Terry applied to a limited pat-
        down search inside hotel room where officers were already
        lawfully present); Richmond, 924 F3d at 412 (upholding Terry pat-
        down occurring within curtilage of defendant’s home after
        defendant permitted officers to enter onto porch area); United
        States v Brooks, 2 F3d 838, 842 (8th Cir 1993) (upholding Terry pat-
        down within defendant’s home after defendant consented to
        officer’s entry into home).
             The Sixth and Eleventh Circuits have also focused on
        whether the officers were lawfully present in the home before the
        Terry-style frisk. See United States v Saari, 272 F3d 804, 809 (6th
        Cir 2001) (holding that equivalent of Terry stop may not occur
        inside home unless warrantless entry was supported by exigent
        circumstances); Moore v Pederson, 806 F3d 1036, 1039 (11th Cir
        2015) (same). The Tenth Circuit has approached the issue in a
        comparable way. It held in Harmon v Pollack that Terry couldn’t
        alone justify an in-home search and detention of a plaintiff.
        586 F3d 1254, 1262 n 2 (10th Cir 2009). But the officers there
        were proceeding under a valid warrant. The Tenth Circuit thus
        found their actions justified under Michigan v Summers, 542 US 692




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        (1981), which holds that officers executing a search warrant for
        contraband have authority to detain the occupants of the subject
        premises while conducting a proper search. Pollack, 586 F3d
        at 1262.
             The Ninth Circuit appears to be in line with this precedent.
        See United States v Flippin, 924 F2d 163, 166 (9th Cir 1991): “When
        the police have lawfully entered a dwelling and have a reasonable
        suspicion that a suspect is armed, a Terry pat down for weapons
        is permissible.” But later cases have called this into doubt by flatly
        asserting that Terry doesn’t apply at all to in-home searches and
        seizures. See United States v Struckman, 603 F3d 731, 738 (9th Cir
        2010), citing United States v Martinez, 406 F3d 1160, 1165 (9th Cir
        2005). But even in Struckman, the court went on to address
        whether probable cause or exigent circumstances could have
        supported the officer’s actions in arresting the defendant in his
        backyard. This suggests that the Ninth Circuit still approves as
        constitutional something like a Terry-style pat-down within the
        home if supported by an independent exception to the warrant
        requirement.
             There is one thing that Terry clearly is not under all these
        cases—a provision of authority to enter a home without a
        warrant. That provision of authority is instead a separate and
        critical inquiry. And the Court resolves the issue on that basis. If
        officers have entered a home in a manner consistent with the
        limitations of the Fourth Amendment, then it is conceivable that
        circumstances can permit a Terry-type frisk. For instance, had the
        officers here entered Curtis’s home with his consent and specific
        and articulable facts thereafter called into question the safety of
        the situation once inside—if he then turned aggressive or
        threatening, or if another person raising similar concerns
        appeared—a limited search could well be found reasonable. But
        where officers are in error under the Fourth Amendment—if
        they find themselves in a home that the Constitution doesn’t
        permit them then to be—prosecution based on evidence seized
        during a Terry-type frisk stretches the doctrine too far.
             Were the officers permitted to be inside Curtis’s home
        without a warrant? No, as set forth at length above. That they
        might be able to articulate sufficient and reasonable concerns




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        under Terry that could support a search on the street doesn’t support
        the same search inside the home—at least not insofar as the fruits
        of that search are to be the basis of subsequent prosecution. Any
        other conclusion brings the exceptional procedure authorized in
        Terry v Ohio perilously close to support of the rejected concept of
        the general warrant. The Supreme Court has explained that the
        general warrant typically specified only an offense and then left it
        to officials executing the warrant to determine which persons and
        places to search. Steagald v United States, 451 US 204, 220 (1981).
        The use of such warrants was most certainly something that those
        who ratified the Bill of Rights understood as forbidden by the
        text of the Fourth Amendment. See Hayden, 387 US at 301 n 9,
        citing Boyd, 116 US at 630. The extension of Terry that the
        government seeks here would in large measure undo this
        protection. For officers could then enter a suspect’s home
        without a valid warrant or an applicable exception—and yet still
        prosecute the suspect with evidence seized from his or her
        person, simply upon articulation of Terry-style safety concerns or
        indicia of criminal activity once wrongfully inside.
             To be clear, the Court doesn’t doubt for a moment that
        officers must and are entitled to take reasonable precautions to
        ensure their safety at every moment of their workday. But here,
        the officers entered Curtis’s home with neither consent nor any
        other supporting exigent circumstance. That they took
        precautions to ensure their safety after impermissibly entering the
        home doesn’t answer the question whether the fruits of that
        search permissibly support Curtis’s prosecution.
             The Court holds that, once across the threshold into Curtis’s
        home, the proper inquiry is justification for warrantless entry by
        the officers in the first instance—not whether a pat-down search
        was thought independently necessary once inside. The evidence
        must be excluded.
                  4. Conclusion
             The search of Defendant Eric Wayne Curtis and seizure of
        the subject firearm and ammunition occurred within the walls of
        his home. No warrant or probable cause permitted police officers
        to be in his home that evening. And the government fails to meet




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        its burden to prove that an exception to the warrant requirement
        applies.
             The motion to suppress the firearm and ammunition is
        GRANTED. Dkt 18.
             The evidence of the firearm and ammunition is SUPPRESSED
        as the product of an unconstitutional search. This evidence
        cannot be used against Curtis at trial.
             SO ORDERED.

            Signed on September 29, 2020, at Houston, Texas.




                                    Hon. Charles Eskridge
                                    United States District Judge




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